
In re State of Louisiana; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. C, No. 03-07-0231, Louis R. Daniel, J.; to the Court of Appeal, First Circuit, No. 2013 KW 0419.
L Granted. The court of appeal erred in ordering respondent sentenced under Miller v. Alabama, 567 U.S. -, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012), and the district court’s order denying respondent’s Motion to Correct an Illegal Sentence is hereby reinstated. See State v. Tate, 12-2763 (La.11/5/13), 130 So.3d 829, cert. denied, Tate v. Louisiana, No. 13-8915, — U.S. -, 134 S.Ct. 2663,189 L.Ed.2d 214, 2014 WL 834279 (May 27, 2014).
JOHNSON, C.J., dissents and would deny the writ reasons.
